540 U.S. 1003
    RASUL ET AL.v.BUSH, PRESIDENT OF THE UNITED STATES, ET AL.
    No. 03-334.
    Supreme Court of United States.
    November 10, 2003.
    
      1
      Appeal from the C. A. D. C. Cir.
    
    
      2
      Certiorari granted limited to the following question: "Whether the United States courts lack jurisdiction to consider challenges to the legality of the detention of foreign nationals captured abroad in connection with hostilities and incarcerated at the Guantanamo Bay Naval Base, Cuba." Cases consolidated, and a total of one hour alloted for oral argument. Reported below: 321 F. 3d 1134.
    
    